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                                 EXHIBIT C




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                                            EXHIBIT C-1
                                              BUDGET
                  PROJECT CATEGORY                             ESTIMATED          ESTIMATED
                                                                 HOURS               FEES

 Asset Analysis and Recovery                                              10.00         $6,000.00

 Asset Disposition                                                       100.00        $55,000.00

 Assumption and Rejection of Leases and Contracts                          5.00         $4,000.00

 Avoidance Action Analysis

 Budgeting (Case)

 Business Operations

 Case Administration                                                      75.00        $40,000.00
 Claims Administration and Objections

 Corporate Governance and Board Matters

 Court Hearings: Attendance and Preparation                               10.00         $5,000.00

 Employee Benefits and Pensions                                           30.00        $15,000.00
 Employment and Fee Applications                                          85.00        $37,000.00

 Employment and Fee Application Objections

 Financing and Cash Collateral
 Litigation                                                               10.00         $6,000.00

 Meetings and Communications with Creditors                               40.00        $30,000.00
 Non-Working Travel

 Other Contested Matters (excluding assumption/rejection                  55.00        $37,000.00
 motions)
 Plan and Disclosure Statement                                            60.00        $45,000.00

 Real Estate

 Relief from Stay and Adequate Protection                                  5.00         $4,000.00
 Reporting

 Tax                                                                       5.00         $4,000.00

 Valuation

 TOTAL                                                                   490.00    $284,000.00

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                                                   EXHIBIT C-2
                                               STAFFING PLAN
                                                                  NUMBER OF
            CATEGORY OF TIMEKEEPER                                                         AVERAGE
                                                                 TIMEKEEPERS
                                                              EXPECTED TO WORK             HOURLY
                                                                ON THE MATTER                RATE
                                                              DURING THE BUDGET
                                                                    PERIOD
Sr./Equity Partner/Shareholder                                           5                  $714.00
Jr./Non-equity/Income Partner
Counsel                                                                  1                  $550.00
Sr. Associate (7 or more years since first admission)                    2                  $555.00
Associate (4-6 years since first admission)
Jr. Associate (1- 3 years since first admission)                         2                  $385.00
Staff Attorney
Contract Attorney
Paralegal                                                                2                  $350.00
Case Manager                                                             1                  $125.00




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      ANSWERS TO QUESTIONS SET FORTH IN ¶ C.5 OF THE APPX. B GUIDELINES

             Question                                         Answer
 Did you agree to any variations from, or alternatives to,                  No.
 your standard or customary billing rates, fees or terms
  for services pertaining to this engagement that were
  provided during the application period? If so, please
                         explain.
 If the fees sought in this fee application as compared to                  No.
   the fees budgeted for the time period covered by this
    fee application are higher by 10% or more, did you
    discuss the reasons for the variation with the client?
     Have any of the professionals included in this fee                     No.
     application varied their hourly rate based on the
       geographic location of the bankruptcy case?
 Does the fee application include time or fees related to                   No.
     reviewing or revising time records or preparing,
    reviewing, or revising invoices? (This is limited to
  work involved in preparing and editing billing records
  that would not be compensable outside of bankruptcy
 and does not include reasonable fees for preparing a fee
  application.). If so, please quantify by hours and fees.
     Does this fee application include time or fees for                     No.
 reviewing time records to redact any privileged or other
   confidential information? If so, please quantify by
                      hours and fees.

  If the fee application includes any rate increases since                  No.
                          retention:
   i. Did your client review and approve those rate
       increases in advance?
   ii. Did your client agree when retaining the law firm
       to accept all future rate increases? If not, did you
       inform your client that they need not agree to
       modified rates or terms in order to have you
       continue the representation, consistent with ABA
       Formal Ethics Opinion 11-458?




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             CUSTOMARY AND COMPARABLE COMPENSATION DISCLOSURES

Morris James’ hourly rates for bankruptcy services are comparable or less than the hourly rates
charged in complex chapter 11 cases by comparably skilled bankruptcy attorneys. In addition,
Morris James’ hourly rates for bankruptcy services are comparable to the rates charged by the firm,
and by comparably skilled practitioners in other firms, for complex corporate and litigation
matters, whether in court or otherwise, regardless of whether a fee application is required.



                                                            Blended Hourly Rate1
                                                                    Billed for Morris
                                                                     James’ National
                                        Billed firm-wide other     Practices other than
                                       than for bankruptcy and     bankruptcy only for                   Billed
     Category of Timekeeper               personal injury for        January 1, 2023                    Through
      (as maintained by the            January 1, 2023 through           through                        Interim
             Firm)                       December 31, 20232       December 31, 20233                     Period
    Partner                                      $695.45                        $809.63                 $755.69
    Associate4                                   $414.44                        $461.05                 $426.95
    Paralegal                                    $276.63                        $305.97                 $350.00
    Aggregate:                                   $517.16                        $612.48                 $593.13




1
   Consistent with ¶ C.3 of the Appendix B Guidelines, the blended hourly rates set forth herein are calculated by
dividing the dollar value of hours billed by the number of hours billed for the relevant timekeepers during the
applicable time period. The data for the “preceding year” is based on information from Morris James’ financial
information for the period of January 1, 2023 through December 31, 2023.
2
  Please note that this column does not include the rates of the firm’s personal injury attorneys, each of whom bill on
a contingency basis.
3
  This column does not include Morris James’ “local practices” (e.g., labor law, matrimonial, medical malpractice,
real estate, and tax and estates).
4
    The “associate” category of timekeepers also includes senior counsel.
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